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16
                                UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18
                                         OAKLAND DIVISION
19

20
     EPIC GAMES, INC.                            Case No. 4:20-cv-05640-YGR
21
          Plaintiff, Counter-defendant           DECLARATION OF MARK A. PERRY IN
22   v.                                          SUPPORT OF APPLE INC.’S
                                                 ADMINISTRATIVE MOTION TO SEAL
23   APPLE INC.,
                                                 The Honorable Yvonne Gonzalez Rogers
24
          Defendant, Counterclaimant             Courtroom 1, 4th Floor
25

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     DECLARATION OF MARK A. PERRY IN SUPPORT OF APPLE INC.’S ADMINISTRATIVE MOTION TO SEAL
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 1           I, Mark A. Perry, hereby declare as follows:

 2           1.      I am an attorney licensed to practice in the State of California, and a member of the Bar

 3   of this Court. I am a partner at the law firm Weil, Gotshal & Manges LLP, counsel of record for Apple

 4   Inc. (“Apple”) in this case. I am familiar with Apple’s treatment of highly proprietary and confidential

 5   information based on my personal experience representing Apple. I have personal knowledge of the

 6   facts stated below and, if called as a witness, would testify competently thereto. 1 Pursuant to Federal

 7   Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple submits this declaration in support of its

 8   administrative motion (“motion”) to seal the documents and portions of the privilege log entries

 9   referenced in the parties’ joint letter brief regarding privilege issues. See Dkts. 1039, 1041.

10           2.      I am aware that the law of this Circuit allows information to be filed under seal for good

11   cause or in certain compelling circumstances. I also understand that courts routinely seal filings where

12   documents include a company’s trade secrets, financial information, internal codenames, confidential

13   research and development, other commercially sensitive information, and personal identifying

14   information. I understand that this Court has broad latitude to prevent the public disclosure of these

15   categories of commercially sensitive information.

16           3.      Apple operates in an intensely competitive environment.              Apple has serious and

17   legitimate concerns that competitors will be quick to capitalize on any release of Apple’s highly

18   sensitive information in order to gain competitive advantage. As such, Apple takes extensive measures

19   to protect the confidentiality of its information.

20           4.      Apple has carefully reviewed the documents and privilege log excerpts referenced in

21   the Parties’ joint letter brief regarding privilege issues that the Court ordered to be filed, and now

22   proposes to seal the documents and information therein that, if disclosed, could harm Apple’s

23   competitive business interests and disclose personal identifying information.

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       Courts in this District routinely grant motions to seal on the basis of declarations of counsel. See, e.g., In
26   Re Qualcomm Litig., No. 17-00108, Dkt. 398-1 (S.D. Cal. Mar. 3, 2018); Avago Techs. U.S. Inc., et al. v.
     Iptronics Inc., et al., No. 10-02863-EJD, Dkt. 544 (N.D. Cal. Apr. 3, 2015); Cisco Sys., Inc., et al. v. Opentv
27   Inc., et al., No. 13-00282-EJD, Dkt. 76 (N.D. Cal. Oct. 8, 2018). I am personally familiar with Apple’s
     safeguarding of proprietary information, but if the Court deems this declaration insufficient, Apple
28   respectfully requests that it be permitted to file a further declaration supporting filing under seal.

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 1          5.         Apple seeks to seal this information because disclosure of this competitively-sensitive

 2   information regarding its internal analysis, research, pricing, design, and communications decisions

 3   related to the launch of the External Purchase Link Entitlement and its business codenames regarding

 4   ongoing confidential projects, which Apple intended to keep confidential, could put Apple at a

 5   competitive disadvantage and thus cause it economic harm. Apple also seeks to seal information to the

 6   extent it reveals personal identifying information that could lead to harassment and invasions of privacy

 7   if made public.

 8          6.         Public disclosure of these documents would reveal Apple’s internal business decision-

 9   making, which could be used by competitors to gain an unfair competitive advantage over Apple.

10          7.         Apple has narrowly-tailored its sealing request as to maximize the public’s access to

11   court documents without jeopardizing Apple’s business interests.

12          8.         Below is a chart detailing why the documents are sealable for the reasons explained

13   herein, as well as in Apple’s Motion.
      Document                           Justification for Sealing
14

15    Exhibit A         (Privilege   Log Highlighted portions of this document should be sealed in full
      Excerpts)                          because they reflect non-public Apple project codenames.
16                                       Disclosure would reveal Apple’s internal business decision-
                                         making, which could be used by competitors to gain an unfair
17                                       advantage over Apple.
18                                         Additional highlighted portions of this document should be sealed
                                           because they reflect employees’ personal identifying information,
19
                                           and individual privacy rights in personal identifying information
20                                         outweigh the presumption in favor of public access to court
                                           records.
21
      Exhibit B (APL-EG_10680322)          This document should be sealed in full because it reflects
22                                         sensitive information regarding Apple’s design process and
                                           communications strategy. If disclosed, this information would
23
                                           cause Apple competitive harm because competitors could
24                                         circumvent the time and resources necessary in developing their
                                           own practices and strategies.
25
      Exhibit C (APL-EG_10681518)          This document should be sealed in full because it reflects
26                                         sensitive information regarding Apple’s communications
                                           strategy. If disclosed, this information would cause Apple
27
                                           competitive harm because competitors could circumvent the time
28                                         and resources necessary in developing their own practices and

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 1                                       strategies.
 2    Exhibit D (APL-EG_10682416) This document should be sealed in full because it reflects
 3                                sensitive information regarding Apple’s design process and
                                  business decision-making strategy. If disclosed, this information
 4                                would cause Apple competitive harm because competitors could
                                  circumvent the time and resources necessary in developing their
 5                                own practices and strategies.
 6    Exhibit E (APL-EG_10682431)        This document should be sealed in full because it reflects
                                         sensitive information about Apple’s financials and about Apple’s
 7
                                         decision-making in setting prices. If disclosed, this information
 8                                       would cause Apple competitive harm because competitors could
                                         circumvent the time and resources necessary in developing their
 9                                       own pricing practices and strategies.
10    Exhibit F (APL-EG_10699646)        This document should be sealed in full because it reflects
                                         sensitive information regarding Apple’s communications
11
                                         strategy. If disclosed, this information would cause Apple
12                                       competitive harm because competitors could circumvent the time
                                         and resources necessary in developing their own practices and
13                                       strategies.
14    Exhibit G (APL-EG_10720488) This document should be sealed in full because it reflects
                                  sensitive information regarding Apple’s design process and
15                                communications strategy. If disclosed, this information would
16                                cause Apple competitive harm because competitors could
                                  circumvent the time and resources necessary in developing their
17                                own practices and strategies.

18    Exhibit H (APL-EG_10737782) This document should be sealed in full because it reflects
                                  sensitive information regarding Apple’s business decision-
19                                making strategy. If disclosed, this information would cause
20                                Apple competitive harm because competitors could circumvent
                                  the time and resources necessary in developing their own
21                                practices and strategies.

22
            9.      Attached hereto as Exhibit A is a true and correct copy of the privilege log entries
23
     requested by the Court. See Dkt. 1041, with yellow highlighting reflecting the portions of the document
24
     that Apple requests be kept under seal.
25
            10.     Attached hereto as Exhibit B is a true and correct copy of the document bearing the
26
     bates number APL-EG_10680322.
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 1          11.    Attached hereto as Exhibit C is a true and correct copy of the document bearing the

 2   bates number APL-EG_10681518.

 3          12.    Attached hereto as Exhibit D is a true and correct copy of the document bearing the

 4   bates number APL-EG_10682416.

 5          13.    Attached hereto as Exhibit E is a true and correct copy of the document bearing the

 6   bates number APL-EG_10682431.

 7          14.    Attached hereto as Exhibit F is a true and correct copy of the document bearing the

 8   bates number APL-EG_10699646.

 9          15.    Attached hereto as Exhibit G is a true and correct copy of the document bearing the

10   bates number APL-EG_10720488.

11          16.    Attached hereto as Exhibit H is a true and correct copy of the document bearing the

12   bates number APL-EG_10737782.

13          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

14   correct and that I executed this declaration on November 1, 2024 in Washington, D.C.

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                                                                /s/ Mark A. Perry
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                                                                Mark A. Perry
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       DECLARATION OF MARK PERRY IN SUPPORT OF APPLE INC.’S ADMINISTRATIVE MOTION TO SEAL
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